      Case 3:13-cr-00046-RLY-CMM                           Document 311               Filed 06/15/16             Page 1 of 2 PageID #:
                                                                 1237
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)          Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                            Antoin Alston                                  )
                                                                           )    Case No: 3:13CR00046-003
                                                                           )    USM No: 66590-112
Date of Original Judgment:                            06/13/2014           )
Date of Previous Amended Judgment:                                         )    Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)



    Mr. Alston's sentence was imposed pursuant to an 11(c)(1)(C) plea agreement; therefore, he is not eligible for a
    sentence reduction under Amendment 782.


                                                                                                         A CERTIFIED TRUE COPY
                                                                                                         Laura A. Briggs, Clerk
                                                                                                         U.S. District Court
                                                                                                         Southern District of Indiana

                                                                                                         By
                                                                                                                               Deputy Clerk




Except as otherwise provided, all provisions of the judgment dated                                                shall remain in effect.
IT IS SO ORDERED.

Order Date:               06/14/2016
                                                                                                       Judge’s signature
                                                                                ________________________________
                                                                                LARRY
                                                                          Honorable Larry J.J.McKinney,
                                                                                               McKINNEY,        JUDGE
                                                                                                          Sr. U.S.    District Court Judge
Effective Date:
                     (if different from order date)                             United States       District  Court
                                                                                               Printed name and title
                                                                                Southern District of Indiana
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  Distribution:

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